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13                                    UNITED STATES DISTRICT COURT
14                                 NORTHERN DISTRICT OF CALIFORNIA
15
16   WILLIAM MELENDEZ, KEN GRAY, JYL                                  CASE NO. C 06-1730 JW
17   LUTES, CAROLYN ANDERSON, and
     LANDWATCH MONTEREY COUNTY,
18                                                                    PLAINTIFFS’ MEMORANDUM OF
                                                                      LAW IN SUPPORT OF EX PARTE
19                                                      Plaintiffs,   APPLICATION FOR TEMPORARY
20                                                                    RESTRAINING ORDER AND OSC RE:
             v.                                                       PRELIMINARY INJUNCTION, OR
21                                                                    ALTERNATIVELY FOR REMAND
     BOARD OF SUPERVISORS OF THE COUNTY
22   OF MONTEREY; TONY ANCHUNDO, in his
23   capacity as MONTEREY COUNTY REGISTRAR                            Judge: Hon. James Ware
     OF VOTERS; COUNTY OF MONTEREY; and                               Dept: 8
24   DOES 1 through 10, inclusive,                                    Date:
                                                                      Time:
25
                                                   Defendants.
26
27
28



                                                Printed on Recycled Paper
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 1                                                INTRODUCTION
 2           This is a very simple case, governed by an incontrovertible legal principle: Once an initiative
 3   petition is certified as having been signed by the requisite number of voters to qualify for the ballot, the local
 4   legislative body has a mandatory and ministerial obligation to call for an election on the initiative.
 5           In this case, Monterey County Registrar of Voters Tony Anchundo certified to the Monterey
 6   County Board of Supervisors that the General Plan Amendment Initiative petition sponsored by Plaintiffs
 7   William Melendez et al. had been signed by 12,587 registered voters of the county — almost 50% more
 8   than the number necessary to qualify the initiative for the ballot. Yet in clear defiance of the law and
 9   ignoring the advice of its own County Counsel , a bare three-to-two majority of the Board of
10   Supervisors has refused to submit the Initiative to the voters.
11           As the California Court of Appeal recently held, “[v]oter action by initiative is so fundamental that
12   it is described ‘not as a right granted the people, but as a power reserved by them.’” Native American
13   Sacred Site & Environmental Protection Ass’n v. City of San Juan Capistrano (2004) 120
14   Cal.App.4th 961, 965 (citation omitted). By refusing to place the duly certified Initiative on the ballot, the
15   Board of Supervisors has hijacked the democratic process in Monterey County and has nullified the rights
16   of the thousands of voters who signed the Initiative petition and the tens of thousands more who support
17   the proposed general plan amendment. This Court cannot let the Board majority so cavalierly deny its
18   citizens their constitutional rights. In order to protect the people’s reserved initiative power, this Court must
19   issue a TRO and OSC Re: Preliminary Injunction commanding the Board of Supervisors to fulfill its
20   ministerial obligation under the law by submitting the Initiative to a vote of the people at the upcoming June
21   6, 2006, statewide primary election.
22           Mindful that the right of initiative is “one of the most precious rights of our democratic process” and
23   that “it has long been our judicial policy to apply a liberal construction to this power wherever it is
24   challenged in order that the right be not improperly annulled,” Mervynne v. Acker (1961) 189 Cal.App.2d
25   558, 563, California courts have emphasized the need to have initiative and referendum measures “reach
26   the ballot without delay or excessive expenditures of time, money and effort.” Gage v. Jordan (1944) 23
27   Cal.2d 794, 799. Time is therefore of the essence in this matter. The Board of Supervisors majority,
28   which has made no secret of its hostility to the proposed Initiative, apparently fears the outcome of the vote

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 1   on Plaintiffs’ measure and hopes to gain a strategic advantage by delaying the election until the Board can
 2   complete its own overhaul of the outdated County General Plan — an on-again, off-again effort that is now
 3   six years in the making. The Board has no right, however, to interfere with the people’s precious initiative
 4   right. As the Court of Appeal held in Save Stanislaus Area Farm Economy v. Board of Supervisors
 5   (“Save Stanislaus”) (1993) 13 Cal.App.4th 141, 149, a case that is directly on point:
 6           “The law is clear: A local government is not empowered to refuse to place a duly certified
 7           initiative on the ballot.”
 8           This Court must therefore follow established state-law precedent and issue the requested injunction
 9   requiring the Board of Supervisors and Registrar of Voters Tony Anchundo to submit the General Plan
10   Amendment Initiative to the voters at the June 6, 2006, primary election, so that Plaintiffs and the thousands
11   of other Monterey County voters who signed the initiative petition can exercise their constitutional right to
12   vote on an issue of great importance to their community.
13                                          STATEMENT OF FACTS
14           Plaintiffs Melendez, Gray, Lutes, and Anderson are the proponents of a proposed countywide
15   initiative measure entitled “The Monterey County Quality of Life, Affordable Housing, and Voter Control
16   Initiative” (the “General Plan Amendment Initiative”or the “Initiative”), which proposes to amend Monterey
17   County’s outdated General Plan to provide better management of the future growth and development of
18   the county. The Initiative would enact new General Plan policies that seek to reduce or eliminate the
19   economic, social, and environmental problems caused by rapid, sprawling rural developments and thereby
20   enhance the quality of life of all Monterey County residents. Among the specific amendments proposed
21   by the Initiative are policies that would direct future development into Monterey County’s cities and into
22   five designated “community areas,” policies that would increase affordable housing opportunities for
23   working families in the county, policies that would require new development to be phased so that the
24   necessary public infrastructure is completed prior to or concurrent with the new development, policies that
25   help to preserve prime agricultural land, and policies that require voter approval of major development
26   projects that are proposed to be located outside cities and the designated community areas.
27           On October 19, 2005, Plaintiffs commenced the process of qualifying their proposed initiative for
28   the ballot by filing with Defendant Registrar of Voters Tony Anchundo a Notice of Intention to circulate

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 1   the petition, together with the written text of the proposed measure and a request for preparation of a ballot
 2   title and summary pursuant to Elections Code section 9103.1 As called for by section 9105, County
 3   Counsel prepared a ballot title and summary for the measure, giving it the title, “Amendment of the
 4   Monterey County General Plan, Including the North County Land Use Plan.”
 5           After receiving the ballot title and summary from the Registrar of Voters and publishing it and the
 6   Notice of Intention in a newspaper of general circulation, as required by section 9105, subdivision (b),
 7   Plaintiffs began to circulate the initiative petition among the voters of Monterey County. Although section
 8   9110 provides that an initiative’s proponents may take up to 180 days from the date they receive the title
 9   and summary to gather the number of signatures necessary to qualify the measure for the ballot, the General
10   Plan Amendment Initiative was immensely popular with the voters, and Plaintiffs needed barely a month
11   to obtain the necessary signatures for their proposed measure.
12           On December 12, 2005, Plaintiffs filed with the Registrar of Voters 202 petition sections,
13   containing a total of 15,475 signatures, in support of the General Plan Amendment Initiative. In order to
14   qualify for the ballot, Plaintiffs only needed to submit valid signatures of 8,697 registered voters in Monterey
15   County, representing ten percent (10%) of the total number of votes cast in the county for all candidates
16   for governor in the most recent gubernatorial election.
17           On January 26, 2006, Registrar of Voters Anchundo completed his verification of the signatures
18   on the initiative petition pursuant to section 9114 and certified that the petition had been signed by 12,587
19   registered voters in the County of Monterey — almost 50% more than the number needed to qualify the
20   Initiative for the ballot. See Verified Petition for Writ of Mandate and Complaint for Injunctive and
21   Declaratory Relief (“Verified Petition”), Exh. A. In accordance with section 9114, the Registrar of Voters
22   certified the results of his examination to Defendant Monterey County Board of Supervisors at its next
23   regularly scheduled meeting on January 31, 2006.
24           Under section 9118, upon receipt of the Registrar’s certification that an initiative petition has been
25   signed by the requisite number of voters and qualifies for the ballot, “the board of supervisors shall do one
26   of the following”: (a) adopt the initiative without alteration; (b) submit the initiative to the voters at the next
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              Unless otherwise indicated, all further statutory references are to the California Elections Code.
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 1   statewide election occurring at least 88 days thereafter; or (c) order a report to be prepared pursuant to
 2   section 9111 on the potential impact of the initiative, following the receipt of which the board then has to
 3   either adopt the initiative or submit it to a vote of the people.2 At the January 31, 2006, meeting, the Board
 4   of Supervisors chose the third option, ordering that reports be prepared on the Initiative’s fiscal impact and
 5   consistency with the planning and zoning laws, and directing that the reports be completed and presented
 6   to the Board for consideration at its February 28, 2006, meeting.
 7           Upon receiving the requested reports at the February 28 meeting, the Board of Supervisors was
 8   thus required under section 9118, subdivision (c), either to adopt the proposed measure within 10 days or
 9   to order that it be submitted to the voters of the County at the June 6, 2006, statewide primary election —
10   i.e., at the next statewide election occurring not less than 88 days thereafter, in accordance with
11   section 1405, subdivision (b).3 That the Board was legally required to take one of these two actions was
12   repeatedly confirmed in County Counsel’s Staff Report presented to the Board in connection with its
13   consideration of this matter. See Declaration of Fredric Woocher in Support of Ex Parte Application for
14   TRO and OSC Re: Preliminary Injunction (“Woocher Decl.”), Exh. 3, p. 1 (“Pursuant to law, the Board
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16           2
              Elections Code section 9118 provides, in full:
17                    “If the initiative petition is signed by voters not less in number than 10 percent of
             the entire vote cast in the county for all candidates for Governor at the last gubernatorial
18           election preceding the publication of the notice of intention to circulate an initiative petition,
             the board of supervisors shall do one of the following:
19
                      “(a) Adopt the ordinance without alteration at the regular meeting at which the
20           certification of the petition is presented, or within 10 days after it is presented.
21                   “(b) Submit the ordinance, without alteration, to the voters pursuant to subdivision
             (b) of Section 1405, unless the ordinance petitioned for is required to be, or for some
22           reason is, submitted to the voters at a special election pursuant to subdivision (a) of Section
             1405.
23
                      “(c) Order a report pursuant to Section 9111 at the regular meeting at which the
24           certification of the petition is presented. When the report is presented to the board of
             supervisors, it shall either adopt the ordinance within 10 days or order an election pursuant
25           to subdivision (b).”
26           3
              Elections Code section 1405, subdivision (b), states in pertinent part:
27                   “(b) The election for a county initiative that qualifies pursuant to Section 9118 shall
             be held at the next statewide election occurring not less than 88 days after the date of the
28           order of election.”
                                                             4
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 1   must either (1) adopt the initiative measure without alteration or (2) submit the initiative measure without
 2   alteration to the voters . . . .”); id., p. 2 (“The Board now has two options with respect to the initiative
 3   petition . . . .”); id., p. 3, ¶ E (“Pursuant to Elections Code section 9118, if the Board does not adopt the
 4   initiative measure without alteration . . ., the Board must submit the initiative measure without
 5   alteration to the voters at the next regularly-scheduled statewide election . . . .”). Indeed, Assistant
 6   County Counsel Leroy Blankenship specifically warned that the Board could not lawfully refuse to place
 7   the General Plan Amendment Initiative on the ballot based upon allegations that it contained legal flaws.
 8   As he accurately predicted, “If we said we were not going to place it on the ballot, we are going to be in
 9   court the next day. The Board of Supervisors doesn’t have the discretion to say we aren’t going to put it
10   on the ballot . . . .” (See Woocher Decl., Exh. 4.)
11           Yet, in flagrant violation of its legal obligation, that is exactly what the Board of Supervisors did.
12   The Board not only refused to take action at its February 28 meeting either to adopt the Initiative or to
13   place it on the June primary ballot as required by section 9118, but by a three-to-two vote, the Board
14   adopted a motion expressly refusing to submit the Initiative to the voters. The very next day, on March 1,
15   2006, Plaintiffs filed the instant lawsuit in Monterey County Superior Court seeking issuance of an order
16   compelling the Board of Supervisors to comply with its ministerial obligation to place the General Plan
17   Amendment Initiative on the June 6, 2006, ballot. On March 7, the Superior Court ordered an expedited
18   hearing on Plaintiffs’ complaint, setting a hearing for March 16. See Woocher Decl., Exh. 1. However,
19   shortly after receiving notice of the Superior Court’s order, Defendants filed a Notice of Removal to this
20   Court, suddenly claiming that “[o]ne of the primary reasons that Defendants declined to place this measure
21   on the ballot was because . . . the measure apparently violates provisions of Section 203 (42 U.S.C.
22   § 1973aa-1a) Federal Voting Rights Act of 1965 (‘FVRA’), which requires that ‘other materials or
23   information relating to the electoral process’ be translated into Spanish in Monterey County.” Notice of
24   Removal, ¶ 4.
25                                                 ARGUMENT
26   I.      PLAINTIFFS SATISFY THE ESTABLISHED                                STANDARDS            FOR
             PRELIMINARY INJUNCTIVE RELIEF
27
             The standards for obtaining injunctive relief under Rule 65 are well-established in this Circuit. A
28

                                                           5
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 1   request for injunctive relief should be granted if the moving party establishes either (1) a combination of
 2   probable success on the merits and the possibility of irreparable injury, or (2) that serious questions are
 3   raised and the balance of hardships tips sharply in favor of the moving party. Stuhlbarg Intern. Sales Co.
 4   v. John D. Brush and Co., 240 F.3d 832, 839-40 (9th Cir. 2001). These formulations are not “different
 5   tests, but represent two points on a sliding scale in which the degree of irreparable harm increases as
 6   likelihood of success on the merits decreases.” Associated Gen. Contractors of Calif. v. Coalition for
 7   Economic Equity, 950 F.2d 1401, 1410 (9th Cir. 1991), quoting Big Country Foods, Inc. v. Board
 8   of Education, 868 F.2d 1085, 1088 (9th Cir. 1989). As discussed below, Plaintiffs readily satisfy the
 9   standards for injunctive relief pursuant to Rule 65.
10           A.       PLAINTIFFS ARE LIKELY TO SUCCEED ON THE M ERITS
11                    1.       The Board of Supervisors Has a Ministerial Duty to Submit
                               Plaintiffs’ Duly Certified Initiative to a Vote of the People. If the
12                             Board Believes the Initiative to Be Invalid, It Must First Schedule
                               the Required Election on the Initiative and Then File Suit Seeking
13                             to Have the Initiative Removed from the Ballot.
14           Almost from the time that the California Constitution was first amended to provide for the initiative
15   and referendum, the courts have repeatedly held that the elected officials against whom those rights are
16   exercised have no authority to interfere with that process, but instead have a ministerial duty to place a
17   qualified initiative on the ballot for a vote of the people. In particular, the courts have stressed that these
18   officials may not unilaterally arrogate to themselves the judicial function of determining whether a
19   proposed measure is valid or invalid. Rather, the only proper means for a legislative body to challenge the
20   legality of an initiative is to first schedule the election as required by law and then, if it deems such action
21   appropriate, seek a court order removing the measure from the ballot.
22           Any conceivable doubt that the Elections Code imposes a mandatory duty on the Board of
23   Supervisors, enforceable by injunctive relief, to place a duly certified initiative on the ballot notwithstanding
24   any purported “questions” about the initiative’s validity were laid to rest in Save Stanislaus, supra — a
25   case that could not be more on point. In Save Stanislaus, the proponents of a slow-growth initiative
26   proposing to amend the County General Plan had gathered a sufficient number of signatures to qualify their
27   measure for the ballot, but the Board of Supervisors refused to call an election on the initiative, contending
28

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 1   that it was legally invalid. The initiative proponents filed a petition for writ of mandate, and the trial court
 2   — finding that the Board had not made “a compelling showing that the initiative was clearly invalid as a
 3   matter of law,” 13 Cal.App.4th at 146 — ordered the measure placed on the ballot.
 4           Opponents of the initiative (Family Farm Alliance, or FFA) appealed, and although the case had
 5   technically become moot because the initiative was defeated by a wide margin in the intervening election,
 6   the Court of Appeal insisted upon deciding the case and issuing an opinion under the public-
 7   interest/likelihood-of-repetition exception to the mootness doctrine, explaining:
 8           “In the present case, the primary issue is whether the Board illegally usurped a judicial
 9           function in refusing to place the initiative on the ballot. Such action by local government
10           could be timed in such a way as to render the government’s conduct unreviewable . . . .
11           Since initiative and referendum matters frequently follow in response to unpopular action
12           or inaction by the local government, the potential for misuse of power by a governmental
13           body strongly influences our exercise of discretion to review this case on the merits.” Id.,
14           at 148.
15           Turning to the merits, the Court of Appeal then emphatically rejected any suggestion that the
16   Board of Supervisors had the power to review the initiative’s validity and unilaterally determine whether
17   to place the matter on the ballot:
18                     “FFA and the Board fail to cite a single authority which stands for the proposition
19           that local governments are empowered to exercise discretion in deciding whether to place
20           a duly certified initiative on the ballot. Such a contention is contrary to established case
21           law. As courts have stated repeatedly and clearly, local governments have the
22           purely ministerial duty to place duly certified initiatives on the ballot.
23                     “The courts have uniformly condemned local governments when these legislative
24           bodies have refused to place duly qualified initiatives on the ballot. ‘Given compliance with
25           the formal requirements for submitting an initiative, the registrar must place it on the ballot
26           unless he is directed to do otherwise by a court on a compelling showing that a proper
27           case has been established for interfering with the initiative power.’ (Farley v. Healey
28           (1967) 67 Cal.2d 325, 327.)

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 1                    “. . . .
 2                    “FFA and the Board assert that because courts in [some] cases in fact have gone
 3           forward with an analysis of the initiatives after condemning the local government’s actions,
 4           there is now a judicial recognition that legislative review is permissible, and judicial review
 5           is merely used to determine whether the local government is right or wrong.
 6                    “Not so. The law is clear: A local government is not empowered to refuse
 7           to place a duly certified initiative on the ballot.”
 8                    “What should a local government do if it believes an initiative measure is unlawful
 9           and should not be presented to the voters? A governmental body, or any person or entity
10           with standing, may file a petition for writ of mandate, seeking a court order removing the
11           initiative measure from the ballot. But such entity or person may not unilaterally
12           decide to prevent a duly qualified initiative from being presented to the
13           electorate.” Save Stanislaus, 13 Cal.App.4th at 148-49 (emphases added; citations
14           omitted).
15           The holding of the Court of Appeal in Save Stanislaus thus could not have been more forceful, and
16   it is directly — indeed, uncannily — applicable to this case: The Monterey County Board of Supervisors
17   simply had no legal authority to refuse to place Plaintiffs’ certified initiative measure on the ballot.4 If the
18   Board majority truly believed that the General Plan Amendment Initiative suffered from legal flaws and the
19   Board was not merely using those claims as a pretext to mask its own objections to the proposed measure,
20   then the Board should have first scheduled an election on the Initiative as required by law, and then filed
21   suit seeking to remove it from the ballot.
22           As the Court of Appeal observed in Save Stanislaus, its decision was by no means the first — nor
23   would it be the last — to hold that a local legislative body has a ministerial duty to call for an election on
24
25
             4
              As noted in the decision, the Court of Appeal in Save Stanislaus issued its published opinion
26   specifically in order to provide guidance once and for all to trial courts that might be confronted, as here,
     by a local government’s “misuse of power” in refusing to place a qualified initiative on the ballot. Under
27   the doctrine of Auto Equity Sales, Inc. v. Superior Court (1962) 57 Cal.2d 450, 455, California trial
     courts are duty-bound to follow the Court of Appeal’s directive and to issue a writ of mandate or injunction
28   compelling the Board to place Plaintiffs’ initiative on the ballot without further delay.
                                                            8
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 1   a duly certified initiative petition, and to condemn the body for refusing to do so.5 Indeed, the principle that
 2   government officials have the ministerial duty to certify and to submit qualified ballot measures to a vote of
 3   the electorate has been settled law in California for more than 75 years, and it has been affirmed and
 4   re-affirmed by the courts time and again, in a variety of contexts. Some of the many cases reiterating this
 5   principle include:
 6           • Schmitz v. Younger (1978) 21 Cal.3d 90, 92-93: “The duty of the Attorney General to prepare
 7           title and summary for a proposed initiative measure is a ministerial one and mandate will lie to
 8           compel him to act when the proposal is in proper form and complies with statutory and
 9           constitutional procedural requirements.”
10           • Farley v. Healey (1967) 67 Cal.2d 325, 327: “The right to propose initiative measures cannot
11           properly be impeded by a decision of a ministerial officer, even if supported by the advice of the
12           city attorney, that the subject is not appropriate for submission to the voters.”
13           • Native American Sacred Site & Environmental Protection Ass’n, supra, 120 Cal.App.4th
14           at 966: “A city’s duty to adopt a qualified voter-sponsored initiative, or place it on the ballot, is
15           ministerial and mandatory. This duty remains, even where the performance is beyond the statutory
16           time frame.”
17           • deBottari v. Norco City Council (1985) 171 Cal.App.3d 1204, 1208-09: “[M]any courts
18           have construed similar election statutes to hold that a city clerk, a city registrar of voters, a county
19           clerk, a county board of supervisors, and the Secretary of State of California all have a mandatory
20
             5
                The Court in Save Stanislaus referred to three earlier appellate decisions in which the courts,
21   while reaffirming that local election officials and governing bodies had no authority to “usurp the judicial
     power” by purporting to determine an initiative’s invalidity, had nevertheless proceeded to “retroactively
22   validate” the local officials’ refusal to submit the measure to the voters by determining that the result was
     correct: Farley v. Healey (1967) 67 Cal.2d 325; deBottari v. Norco City Council (1985) 171
23   Cal.App.3d 1204; and Citizens for Responsible Behavior v. Superior Court (1991) 1 Cal.App.4th
     1013. See Save Stanislaus, supra, 13 Cal.App.4th at 149. As the Court of Appeal emphasized in Save
24   Stanislaus, those cases do not by any means reflect “a judicial recognition that legislative review [of an
     initiative’s validity] is permissible, and judicial review is merely used to determine whether the local
25   government is right or wrong. Not so. The law is clear: A local government is not empowered to refuse
     to place a duly certified initiative on the ballot.” Ibid.
26
            It is significant that following the Save Stanislaus Court’s clarification of this issue and
27   admonishment, there does not appear to be a single reported decision in which an appellate court
     has upheld a local governing body’s unilateral refusal to place a qualified initiative on the ballot
28   based upon purported concerns over the measure’s substantive invalidity.
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 1           duty to process and submit initiative and referendum measures.” (citations omitted)
 2           • Citizens Against a New Jail v. Board of Supervisors (1977) 63 Cal.App.3d 559, 561:
 3           “Statute requires that upon the filing of such an initiative petition so signed, the board may adopt
 4           the proposed ordinance without change or, if it does not, ‘the ordinance, without alteration, shall
 5           be submitted by the board to the voters at the next general election.’ This duty to submit the issue
 6           is mandatory and ministerial.”
 7           • Baroldi v. Denni (1961) 197 Cal.App.2d 472, 477: “Upon the filing [of the city clerk’s
 8           certification] it became the ministerial duty of the City Council to order at once a special election
 9           . . . to determine the question of recall.”
10           • Martin v. Board of Trustees of Menlo Park (1929) 96 Cal.App. 705, 707: “Here the petition
11           contains all the requirements of the statute and is properly certified to by the city clerk. This being
12           so, it is the duty of the board to call the election.”
13           • Ratto v. Board of Trustees (1925) 75 Cal.App. 724, 726-27: “[U]nder the statute no discretion
14           is vested in the trustees as to the question of calling such election, providing the petition contains
15           the statements required by the statute, and is properly certified by the clerk as to the number of
16           signatures.”
17           The rule laid down in these cases — mandating that the Board of Supervisors first fulfill its
18   ministerial obligation to schedule an election on a qualified initiative measure and only then, should it believe
19   the measure to be invalid, file a lawsuit seeking to have the court remove the measure from the ballot under
20   the legal standards applicable to pre-election challenges — ensures that a qualified initiative will “reach the
21   ballot without delay or excessive expenditures of time, money, and effort.” Gage v. Jordan, supra, 23
22   Cal.2d at p. 799. If, by contrast, a local governing body were permitted to rely upon the purported
23   invalidity of an initiative as a justification for unilaterally refusing to place the measure on the ballot, every
24   initiative proponent would likely find himself or herself having to initiate and prosecute a court action simply
25   to compel the measure’s placement on the ballot. See Gayle v. Hamm (1972) 25 Cal.App.3d 250, 258
26   (permitting county to defend its refusal to process initiative petition by litigating the validity of the proposed
27   measure in writ of mandate action brought by initiative proponents “would be tantamount, in our opinion,
28   to requiring every proponent of an initiative measure to first seek the advisory opinion of the courts as to

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 1   its validity before getting the measure to the electorate”).
 2            Moreover, requiring the local legislative body to schedule the election first and litigate the validity
 3   of the initiative later is the only means of ensuring that the citizens’ initiative and referendum rights are
 4   preserved during the pendency of the judicial proceedings. Preparing for the vote on a ballot measure
 5   requires many preliminary actions and substantial lead time prior to Election Day: Ballot arguments for and
 6   against the measure must be prepared and made available for public examination and possible legal
 7   challenge; rebuttal arguments must likewise be drafted and reviewed; the ballots and sample ballots must
 8   be finalized sufficiently in advance of the election that they can be printed and mailed to the voters in time
 9   for them to request, receive, and return absentee ballots; and the voters, of course, must be given ample
10   opportunity to educate themselves and consider the proposed ballot measures before casting their ballots.
11   As a result, the Elections Code provides that the determination to place an initiative on the ballot must
12   usually be made at least 88 days before the election. As the Court recognized in Save Stanislaus, if the
13   governing body were permitted to keep a qualified initiative off the ballot unless and until its proponents
14   were able to secure a court order compelling the measure to be submitted to the voters, “[s]uch action by
15   local government could well be timed in such a way as to render the government’s conduct unreviewable.”
16   13 Cal.App.4th at 147.
17            The Save Stanislaus Court amplified on these concerns in another decision it issued two years
18   later:
19            “Our holding that a duly certified ballot measure should be presented to the voters unless
20            there was a ‘compelling showing’ to the contrary was a pragmatic one. Initiative and
21            referendum measures usually arise from a controversial or unpopular local government
22            action. There is usually insufficient time for full appellate consideration of a ballot measure
23            before the election. As a result, the unilateral decision by local government officials to
24            keep a measure off the ballot effectively may thwart the initiative/referendum process,
25            unless trial courts vigilantly protect the process by allowing the election to go forward
26            except when the invalidity of the measure is ‘clear beyond a doubt.’” Memorial Hospitals
27            Ass’n v. Randol (1995) 38 Cal.App.4th 1300, 1306, quoting Gayle v. Hamm, supra,
28            25 Cal.App.3d at 258.

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 1           That is exactly what is happening in the present case. Pursuant to Elections Code section 9118,
 2   the Board was obligated at the February 28, 2006, meeting either to adopt the General Plan Amendment
 3   Initiative or to submit it to a vote in the upcoming June 6, 2006, primary election. The Board knew full well
 4   that it had a mandatory and ministerial duty to submit the duly certified Initiative to the voters, and it knew
 5   full well that if it did not do so, it would be sued by the Initiative’s proponents — County Counsel told
 6   the Board exactly that! Yet the three-to-two majority of the Board refused to call for an election on the
 7   Initiative, knowing that the statutory deadline for placing the measure on the June 6, 2006, ballot was
 8   March 10, only days away. The Board majority evidently hopes that by the time a court issues its ruling,
 9   it might be too late to include the Initiative on the June ballot. Cf. Save Stanislaus, supra, 13 Cal.App.4th
10   at 147-48 (“if the trial court here had failed to order the initiative onto the ballot in the present case, the time
11   sequence may well have prevented relief from the Board’s action”). As the Court of Appeal urged in
12   Memorial Hospitals Ass’n v. Randol, this Court must therefore “vigilantly protect” the
13   initiative/referendum process by ordering the election on the General Plan Amendment Initiative to go
14   forward.6
15                    2.       No Court Has Ever Held that the Federal Voting Rights Act
                               Requires Plaintiffs’ Privately Circulated Initiative Petitions to Be
16                             Printed in Spanish. In Fact, the Courts of Appeals in Two Circuits
                               Have Specifically Rejected Just Such an Argument.
17
             In their Notice of Removal, Defendants assert that they “refused to place the Initiative on the
18
     upcoming ballot, because to do so would have been inconsistent with the provisions of [the Federal Voting
19
20
21           6
                As the cases cited above make clear, the Board’s duty to place the General Plan Amendment
     Initiative on the June 6, 2006, ballot “remains, even where performance of that duty is beyond the statutory
22   time frame.” Native American Sacred Site, supra, 120 Cal.App.4th at 966; accord, MHC Financing
     Limited Partnership Two v. City of Santee (2005) 125 Cal.App.4th 1372, 1384. The Court of Appeal
23   in Native American Sacred Site reviewed a number of prior cases, including Goodenough v. Superior
     Court (1971) 18 Cal.App.3d 692 and Duran v. Cassidy (1972) 28 Cal.App.3d 574, in which courts had
24   issued writs of mandate ordering initiatives to be placed on the ballot even though the statutory deadline
     for such action had passed. In Goodenough, for example, the Court of Appeal held that “failure to comply
25   with the time period, what it described as a ‘procedural detail{,} will not be permitted to defeat the clear
     purpose of the statute to bring initiative measures to an early vote.’” Native American Sacred Site, supra,
26   120 Cal.App.4th at 966, quoting Goodenough, supra, 18 Cal.App.3d at 696-97. Thus, as long as it is
     still physically possible to include the General Plan Amendment Initiative on the June 6, 2006, primary
27   election ballot, that is the order that the Court must issue. See Goodenough, supra, 18 Cal.App.3d at
     p. 697 (“Time for a proper notice of election must be provided. Subject to that condition no other time
28   limit applies.”).
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 1   Rights Act of 1965 (‘FVRA’)], and might have rendered the County defendants in violation of FVRA.”
 2   Notice of Removal, ¶ 4 (emphasis added). Specifically, Defendants contend that under the Ninth Circuit’s
 3   recent decision in Padilla v. Lever, 429 F.3d 910 (9th Cir. 2005), “the measure apparently violates”
 4   Section 203 of FVRA, 42 U.S.C. § 1973aa-1a, because the initiative petitions that Plaintiffs circulated
 5   among the County’s voters were not translated into Spanish. Ibid. (emphasis added). Defendants’ half-
 6   hearted and belated excuse for refusing to comply with their ministerial duty under state law is without
 7   merit.7
 8             Section 203, subdivision (c), of the FVRA provides in pertinent part:
 9                     “Whenever any State or political subdivision subject to the prohibition of
10             subsection (b) of this section provides any registration or voting notices, forms, instructions,
11             assistance, or other materials or information relating to the electoral process, including
12             ballots, it shall provide them in the language of the applicable minority group as well as in
13             the English language.” 42 U.S.C. § 1973aa-1a(c).
14   The FVRA’s multilingual requirements therefore apply only where: (1) the State or a political subdivision
15   “provides” voting notices or other materials or information; and (2) those materials “relat[e] to the electoral
16
               7
               There is every reason to believe that Defendants’ reliance upon the Voting Rights Act is merely
17   a pretext to conceal their true motivation for refusing to submit the General Plan Amendment Initiative to
     the voters — that a majority of the Board opposes the substance of the proposed Initiative. Despite the
18   statement in Defendants’ Notice of Removal that the asserted FVRA concern was “one of the primary
     reasons” why the Board refused to place the duly certified initiative on the ballot, not a single word about
19   the alleged FVRA violations was mentioned by any of the Supervisors as a purported ground for refusing
     to submit the Initiative to the voters; instead, all of the Supervisors’ stated objections focused entirely on
20   the Initiative’s substantive provisions. Moreover, just one month before refusing to place the General Plan
     Amendment Initiative on the ballot on the alleged ground that doing so would violate the FVRA, the Board
21   of Supervisors voted — without any concern for compliance with the FVRA — to place a referendum
     measure on the same June 6 ballot even though its petitions had likewise been printed and circulated only
22   in English. See Woocher Decl., ¶ 5.
23            In any event, under California law, it is the County Registrar of Voters — not the Board of
     Supervisors — who has the legal responsibility and obligation to ensure that initiative and referendum
24   petitions comply with all constitutional and statutory requirements. See, e.g., Billig v. Voges (1990) 223
     Cal.App.3d 962, 969 (“the offices of city clerks throughout the state are mandated by the constitution to
25   implement and enforce the statute’s procedural requirements”). The General Plan Amendment Initiative
     was determined to be procedurally sufficient by Monterey County Registrar of Voters Tony Anchundo,
26   who duly — and rightly — certified the sufficiency of the Initiative for the ballot on January 26, 2006. The
     Board of Supervisors had no authority to make its own, unilateral determination to “overrule” the
27   Registrar’s certification of the initiative on procedural grounds. To the contrary, the laws is clear that upon
     receiving the Registrar’s certification, the Board had a ministerial obligation to submit the Initiative to
28   the voters at the June 6, 2006, primary election.
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 1   process.”
 2           In Padilla, a divided panel of the Ninth Circuit Court of Appeals ruled that privately circulated
 3   recall petitions are subject to Section 203(c) of the Voting Rights Act. See Padilla, 429 F.3d at 915
 4   (“the central dispute is whether recall petitions fall under the Act’s translation requirements”) (emphasis
 5   added).8 Even if Padilla remains good law, however, nothing in that opinion justifies expanding the Court’s
 6   holding or reasoning to require that initiative petitions must also be translated into multiple languages,
 7   much less that initiative petitions circulated prior to the issuance of the Padilla opinion must be
 8   invalidated for violating the FVRA. To the contrary, both the majority opinion and the plaintiffs in the
 9   Padilla case were careful to distinguish the recall process in California from the initiative process in this
10   state and elsewhere.
11           The majority opinion in Padilla held that recall petitions fell within the ambit of Section 203(c) —
12   which, as noted above, only applies to election materials that are “provided” by the state — because, unlike
13   the initiative process, the recall process under the California Elections Code involves significant state
14   involvement. Padilla, 429 F.3d at 922 (“Recall petitions in California are subject to extensive regulations
15   that go beyond imposing mere ministerial duties upon elections officials. See Cal. Elec. Code § 11000 et
16   seq.”). Specifically, elections officials are required to review and approve recall petitions prior to their
17   circulation. As the court explained, “California law prohibits any private party from circulating a recall
18   petition until the petition receives state approval. . . . By reviewing and approving the Recall Petition for
19   circulation, the Orange County Elections Department officially sanctioned the content and format of the
20   petition, including its printing only in English. Elections officials could have altered the text of the petition
21   or demanded that the Recall Proponents publish it in Spanish as well as English, but chose not to do this
22   and instead approved the petitions in their English-only form.” Id. at 923-24; see Cal. Elec. Code, §
23   11042(a) (charging elections officials with “ascertain[ing] if the proposed form and wording of the petition
24
             8
              The mandate in Padilla has not yet issued because petitions for rehearing and for rehearing en
25   banc are still pending before the panel and the full Ninth Circuit. Indeed, the Court called for a response
     to the petition for rehearing en banc almost three months ago, a necessary step before either petition for
26   rehearing can be granted. It is thus not clear at this time whether the panel’s decision will withstand review
     by the full Court — or, for that matter, by the U.S. Supreme Court — especially since the petition for
27   rehearing en banc was supported by amicus curiae letters from, among others, the Secretaries of States
     of California, Nevada, Arizona, and Washington, as well as the California State Association of Counties.
28   See Woocher Decl., Exhs. 6-9.
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 1   meets the requirements of this chapter”); id., § 11042(d) (“No signature may be affixed to a recall petition
 2   until the elections official . . . has notified the proponents that the form and wording of the proposed petition
 3   meet the requirements of this chapter.”). “This state approval,” the Padilla panel believed, constituted
 4   “sufficient state involvement to trigger application of the bilingual requirements and to conclude that the state
 5   ‘provided’ the Recall Petition within the meaning of the Voting Rights Act.” 429 F.3d at 924.
 6           By contrast, state regulation of initiative petitions is minimal. In particular, there is no review and
 7   approval by the state of the form or content of an initiative petition prior to its circulation. The elections
 8   official has neither the authority nor the opportunity to alter the text of an initiative petition or to demand that
 9   it be published in any language other than English. Indeed, the first time an elections official ever sees an
10   initiative petition is after it has been privately circulated and it has been submitted for verification of the
11   signatures on it. See generally Cal. Elec. Code, § 9100 et seq. And at that point, the role of the elections
12   official is purely ministerial, limited to determining the petition’s compliance with the procedural
13   requirements of the Code. See Alliance for a Better Downtown Millbrae v. Wade (2003) 108
14   Cal.App.4th 123 (elections officials are foreclosed from making “decisions that are discretionary or go
15   beyond a straightforward comparison of the submitted petition with the statutory requirements for
16   petitions”); Ley v. Dominguez (1931) 212 Cal. 587, 602 (“duties and powers of the city clerk in reference
17   to his examination of referendum petitions . . . are purely ministerial and not judicial”). In sum, California
18   elections officials do not initiate the petition process, do not draft the language of an initiative petition, do
19   not review, approve, or alter the substance of the petition, and do not play any role in circulating an initiative
20   petition to the voters. There is simply no way that the state could be considered to “provide” the initiative
21   petition so as to bring it within the coverage of Section 203 of the FVRA.9
22
23           9
                There are many other factors that distinguish initiative petitions from recall petitions as they might
     relate to the FVRA analysis. For instance, whereas recall petitions are statutorily limited to including a
24   [maximum] 200-word statement of the reasons for the proposed recall and a [maximum] 200-word answer
     from the elected official who is the subject of the proposed recall, initiative petitions must include the “full
25   text” of the measure that is proposed to be enacted and will therefore be quite voluminous. The General
     Plan Amendment Initiative in this case, for example, consisted of some 60 pages of 8 ½ x 14 inch text, plus
26   19 separate charts and maps. To require private parties to have to pay the costs of translating and printing
     initiative petitions into sometimes-multiple foreign languages would severely chill, if not entirely thwart, their
27   fundamental constitutional right to petition their government for redress of grievances. When Congress
     mandated in Section 203 that “[w]henever any State or political subdivision . . . provides any registration
28   or voting notices . . . or other materials or information relating to the electoral process, including ballots,
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 1           In fact, this was precisely the conclusion of the only two Courts of Appeals to have considered
 2   whether initiative petitions are subject to Section 203(c) of the FVRA. In Montero v. Meyer, 861 F.2d
 3   603 (10th Cir. 1988) and Delgado v. Smith, 861 F.2d 1489 (11th Cir. 1988), both the Tenth Circuit and
 4   the Eleventh Circuit Courts of Appeals held that citizen-sponsored initiative petitions did not have to be
 5   printed and circulated in languages other than English because they were neither “materials relating to the
 6   electoral process,” nor were they “provided” by the state.10 The courts in these cases emphasized that in
 7   reviewing the initiative petitions for compliance with certain statutory requirements regarding the permissible
 8   form (and in some respects, such as with single-subject rule compliance, the content) of the petitions, the
 9   elections officials were performing a ministerial function that did not convert the private actions of the
10   initiative proponents into state action. See Montero v. Meyer, 861 F.2d at p. 610 (“The acts performed
11   by those officers are designed primarily to make the initiative process fair and impartial, and do not
12   constitute providing the petitions to the electorate.”); Delgado v. Smith, 861 F.2d at 1496 (“the Florida
13   Secretary of State is charged with limited ministerial duties regarding the initiative process. As discussed
14   above, the Secretary must determine whether the total number and geographic distribution of petitions is
15   proper, approve the format of the petition, and finally submit it to the Attorney General of Florida certifying
16   that the formal petition requirements have been complied with. However, contrary to appellants’ position,
17   these duties do not constitute state formulation of the initiative petition.”) As the Court of Appeals
18   summarized Florida’s initiative process in Delgado v. Smith:
19                    “No state action link exists between the proponents of the English language petition
20           and the state statutory scheme. The state does not initiate the petition, does not draft the
21           language of the petition, does not address the merits of the proposal and does not
22
23   it shall provide them in the language of the applicable minority group as well as in the English language,”
     it surely did not contemplate that private citizens would be forced thereby to expend tens of thousands of
24   dollars in order to exercise their constitutional right of petition.
25           10
                 Both courts also expressed the view that an interpretation of the FVRA that required initiative
     petitions to be printed in multiple languages would raise serious concerns under the First Amendment by
26   imposing “a substantial burden on the right of political association.” Delgado v. Smith, 861 F.2d at 1494-
     95 (“It is hard to imagine that in passing the Act, Congress could have intended that private citizens seeking
27   to further their own political goals through the initiative petition process be subject to specific language
     requirements.”); see also Montero v. Meyer, 861 F.2d at 609 (“so long as the right of initiative remains
28   reserved to the people, the state cannot diminish or impede that process”).
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 1           participate in any way in the circulation of the petition or in the collection of signatures.
 2           Rather, all of this action is taken by private citizens. The state’s responsibility is to ensure
 3           that the petition meets the requirements of law and will fairly present the proposition that
 4           may or may not be placed before the electorate. Such regulation is not sufficient to
 5           transpose such private conduct into state action.” Id. at 1497.
 6           The Ninth Circuit panel in Padilla relied upon these same differences between the initiative
 7   processes in Florida and Colorado and the recall scheme in California to distinguish the Montero and
 8   Delgado decisions. See Padilla, 429 F.3d at 917-18 (“For instance, under Florida law, Florida elections
 9   officials are limited to verifying only that a proposed initiative petition complies with applicable format
10   requirements; the regulations do not provide for a review of the petition’s contents. . . . Unlike Colorado,
11   California recall proponents are statutorily required to alter their recall petition as directed by elections
12   officials until elections officials are satisfied that no further alterations are required.”). The plaintiffs in
13   Padilla, represented by the same attorney who represents the plaintiffs in Madrigal v. County of
14   Monterey (No. C06-01407 (RS)), likewise stressed that the different statutory frameworks were critical
15   in determining whether the requisite degree of state involvement existed to support a conclusion that the
16   state “provides” the election materials under the FVRA: “If election officials in Florida and Colorado do
17   not have the ultimate determination to require changes to the content of a petition, then for all practical
18   purposes, the states are not providing any election materials and are instead performing ministerial duties
19   in the conduct of elections.” Plaintiffs-Appellants’ Response to Petition for Rehearing en Banc in Padilla
20   v. Lever, pp. 7-8 (attached as Exhibit 10 to Woocher Decl.). Just as the privately circulated initiative
21   petitions in Colorado and Florida were not “provided” by the state in Montero and Delgado, Plaintiffs’
22   Initiative here was not “provided” by the County, either.
23           Nor is there any basis for applying Padilla’s newly announced interpretation of the FVRA — even
24   assuming it were to apply to initiative petitions — retroactively so as to invalidate petitions, such as the
25   General Plan Amendment Initiative petition in this case, that were circulated in good faith prior to the
26   issuance of the panel’s decision on November 23, 2005. When, as occurred in Padilla, a new rule is not
27   applied in the very case in which it is announced, courts may — and should — properly refuse to apply
28   it retroactively. See George v. Camacho, 119 F.3d 1393, 1399 n.9 (9th Cir. 1997) (a new rule must be

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 1   applied to pending cases only “if the new rule is applied in the case in which it was announced”). Rather,
 2   courts will refuse to apply decisions retroactively when: (1) the decision establishes a new principle of law;
 3   (2) the retroactive application of the decision will retard, not further, the purposes of the rule in question;
 4   and/or (3) the retroactive application of the decision will produce substantially inequitable results. Id. at
 5   1401; accord, Austin v. City of Bisbee, Arizona, 855 F.2d 1429, 1432-43 (9th Cir. 1988).
 6           Here, all three factors mandate that the Padilla decision not be applied retroactively. First, the
 7   decision not only established a new rule, it actually reversed a prior one. The Courts of Appeals in
 8   Montero and Delgado had expressly rejected claims that citizen-sponsored initiative petitions must comply
 9   with the minority language requirements of the FVRA, and even the District Court in Padilla had likewise
10   ruled almost three years ago that recall petitions in California do not have to be printed in multiple
11   languages. Although the Ninth Circuit panel opinion subsequently reversed the District Court’s ruling,
12   surely those citizens in California who — like Plaintiffs here — had relied in good faith upon these previous
13   rulings to circulate their initiative petitions only in English should not now have the thousands of signatures
14   they gathered invalidated and the elections they petitioned for canceled because they did not have the
15   foresight to predict the panel majority’s decision. See, e.g., Austin v. City of Bisbee, Arizona, supra, 855
16   F.2d at 1433 (refusing to apply new decision retroactively where it “overruled clear past precedent”).
17           Similarly, the purpose of the rule in question — to promote “full participation in the electoral
18   process” (see Padilla, 429 F.3d at 924) — would be retarded, not furthered, by invalidating the Initiative
19   petition in this case. Every one of the more than 15,000 persons who signed that petition did so
20   precisely because they wanted to participate in the electoral process by exercising their
21   constitutionally protected right of initiative. Even if it were the case that more citizens (i.e., minority
22   language speakers) would be able to fully participate in the electoral process if, in the future, recall and
23   other petitions were printed in multiple languages, that is no reason to nullify the petitions that have already
24   been circulated and qualified for the ballot even without these additional individuals’ full participation. The
25   retroactive application of Padilla’s new rule to this Initiative would serve only to deny those who have
26   already signed the petitions their fundamental constitutional rights and frustrate their efforts to participate
27   in the electoral process.
28           Finally, applying the Padilla decision retroactively would produce substantially inequitable results.

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 1   Plaintiffs reasonably relied upon the California Elections Code, the appellate decisions in Montero and
 2   Delgado, and the District Court’s ruling in Padilla itself in drafting and circulating their petitions in English
 3   only. Countless initiative petitions have circulated and qualified for the ballot throughout the State of
 4   California that were printed only in English, and never before had a single one of them been declared
 5   unlawful under the FVRA. Indeed, on the same June 2006 primary ballot on which Plaintiffs’ General
 6   Plan Amendment Initiative should be appearing will be Proposition 82, which was circulated in Englishonly,
 7   and 53 other statewide initiative petitions have been submitted or are in circulation with the hope of
 8   appearing on the November 2006 ballot — every one of which is printed only in English. To suddenly
 9   change the “rules of the game” now, after Plaintiffs have completed the process and have done exactly what
10   had been required of them to qualify their initiative for the ballot, would “penaliz[e] [those] parties who
11   ordered their affairs in reasonable reliance on a rule of law that was later invalidated.” Austin, 855 F.2d
12   at 1432.
13           In sum, there is no basis for the Board’s asserted claim that it would violate the Voting Rights Act
14   to submit Plaintiffs’ Initiative to Monterey County’s voters at the June primary election. No court has ever
15   held that privately circulated initiative petitions must be printed in Spanish, and even if the panel’s opinion
16   in Padilla could be read to support such a result, it should not be applied retroactively to invalidate certified
17   initiative petitions like Plaintiffs’ that were circulated prior to the issuance of that decision.11
18           B.       THE BALANCE OF HARDSHIPS WEIGHS ENTIRELY IN PLAINTIFFS ’ FAVOR
19           Under the second prong of the test for issuance of preliminary injunctive relief, the Court considers
20   whether the equities weigh in favor of or against granting the requested relief. In the present case, all of
21   the equities support granting the TRO and preliminary injunction, for Plaintiffs face a significant threat of
22
             11
               Defendants’ half-hearted suggestion that the Board also refused to submit the Initiative to the
23   voters because doing so “might have placed the County Defendants in violation of the pre-clearance
     provisions of FVRA” (Notice of Removal, ¶ 5) is equally without merit. The Supreme Court has held that
24   “a covered jurisdiction need not seek preclearance before enacting legislation that would effect a voting
     change. Preclearance is required before actually administering a change . . . .” Lopez v. Monterey
25   County, 525 U.S. 266, 279 (1999) (internal citations omitted; emphasis in original); see also 28 C.F.R.
     § 51.21 (“Changes affecting voting should be submitted as soon as possible after they become final.”)
26   (emphasis added). Accordingly, the County of Monterey need not seek pre-clearance unless and until the
     General Plan Amendment Initiative is approved by voters. More fundamentally, even if enacted by the
27   voters, the Initiative would not effect a change to a “standard, practice, or procedure with respect to
     voting,” and would therefore not trigger the pre-clearance requirements of the Voting Rights Act in any
28   event.
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 1   irreparable injury in the absence of the requested provisional relief, whereas no harm will befall Defendants
 2   from issuing the TRO and preliminary injunction.
 3            As noted in the ex parte application, the TRO requested by Plaintiffs merely seeks to preserve
 4   the option of having the General Plan Amendment Initiative appear on the June 6, 2006, ballot by requiring
 5   Defendant Registrar of Voters Anchundo to accept ballot arguments for and against the measure, so that
 6   there will be no delay in preparing the Voter Information Pamphlet in the event the Court were ultimately
 7   to rule that the Initiative should be submitted to the voters. The preliminary injunction requested by Plaintiffs
 8   similarly seeks to preserve a place on the June ballot for the General Plan Amendment Initiative by requiring
 9   that the ballots and Voter Information Pamphlet for the June election not be sent to the printer without
10   including the Initiative.
11            The Court of Appeals has held that “the fact that a case raises serious First Amendment questions
12   compels a finding that there exists ‘the potential for irreparable injury, or that at the very least the balance
13   of hardships tips sharply in [Appellants’] favor.’ Viacom Int'l, Inc. v. FCC, 828 F.Supp. 741, 744
14   (N.D.Ca.1993). ‘Under the law of this circuit, a party seeking preliminary injunctive relief in a First
15   Amendment context can establish irreparable injury sufficient to merit the grant of relief by demonstrating
16   the existence of a colorable First Amendment claim.’ Id. (citing San Diego Committee v. Governing
17   Board, 790 F.2d 1471 (9th Cir.1986)).” Sammartano v. First Judicial District Court, 303 F.3d 959,
18   973 (9th Cir. 2002); see also Elrod v. Burns, 427 U.S. 347, 373 (1976) (“[t]he loss of First Amendment
19   freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury” for purposes of
20   the issuance of a preliminary injunction).
21            Additionally, “[i]n cases where the public interest is involved, the district court must also examine
22   whether the public interest favors the plaintiff.” Fund for Animals v. Lujan, 962 F.2d 1391, 1400 (9th
23   Cir.1992). “Courts considering requests for preliminary injunctions have consistently recognized the
24   significant public interest in upholding First Amendment principles.” Sammartano, 303 F.3d at 974; see,
25   e.g., Iowa Right to Life Committee, Inc. v. Williams, 187 F.3d 963, 970 (8th Cir. 1999) (district court
26   did not abuse its discretion in granting a preliminary injunction because “the potential harm to independent
27   expression and certainty in public discussion of issues is great and the public interest favors protecting core
28   First Amendment freedoms”); G & V Lounge, Inc. v. Michigan Liquor Control Comm’n, 23 F.3d 1071,

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 1   1079 (6th Cir. 1994) (“it is always in the public interest to prevent the violation of a party's constitutional
 2   rights”); Cate v. Oldham, 707 F.2d 1176, 1190 (11th Cir.1983) (the “strong public interest in protecting
 3   First Amendment values” favored preliminary injunctive relief).
 4           Plaintiffs will almost surely suffer irreparable harm if interim injunctive relief is not granted in this
 5   case, because the printing deadline for the June election would otherwise likely pass before a final decision
 6   can be obtained from this Court on the merits, thereby effectively preventing their qualified Initiative from
 7   appearing on the June ballot and denying the thousands of voters who signed the Initiative petitions their
 8   constitutional right to a timely election on the measure. Just last month, the California Supreme Court again
 9   emphasized the courts’ obligation to protect the citizens’ exercise of the initiative power against
10   unwarranted attempts to prevent a vote on a qualified measure:
11           “Particularly when a preelection challenge is brought against an initiative measure that has
12           been signed by the requisite number of voters to qualify it for the ballot, the important state
13           interest in protecting the fundamental right of the people to propose statutory or
14           constitutional changes through the initiative process requires that a court exercise
15           considerable caution before intervening to remove or withhold the measure from an
16           imminent election.” Costa v. Superior Court (2006) 39 Cal.Rptr.3d 470, 483 [128 P.3d
17           675].
18           Over 15,000 Monterey County residents signed the General Plan Amendment Initiative petition,
19   and tens of thousands more support the demand for a vote on the Initiative. If the Initiative is prevented
20   from appearing on the June ballot, these residents and the public interest will be irreparably harmed by the
21   denial of their First Amendment right to petition their government and by the deprivation of their right to
22   have a meaningful say on the most important land-use and quality-of-life issues facing their community. By
23   contrast, no harm will befall Defendants from the relief requested. If this Court were to rule that Initiative
24   is not entitled to be submitted to the voters, the measure could readily be removed from the ballot — more
25   readily, certainly, than it could be added to the ballot at a later date — or the Initiative could simply not be
26   given effect if it were to remain on the ballot and be approved by the voters. Moreover, even if the Court
27   were ultimately to conclude that the Initiative petitions should have been printed in Spanish as well as
28   English, there will be no harm from scheduling a vote on the measure, because (1) nobody has ever credibly

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 1   suggested that the Initiative would not have qualified for the ballot if the petitions had also been printed in
 2   Spanish, and (2) the ballots and all of the other election materials that will be provided to the voters in
 3   connection with the June election will be available in both Spanish and English. Even as a fiscal matter,
 4   it will be much less costly to consolidate the election on the Initiative with the upcoming statewide primary
 5   election than it would be to hold a special, stand-alone election on the measure if it were not ordered onto
 6   the ballot in time for the June election. All of the equities, therefore, favor granting the injunctive relief
 7   requested by Plaintiffs.
 8   II.     ALTERNATIVELY, AFTER ISSUING THE REQUESTED TEMPORARY
             RESTRAINING ORDER, THIS ACTION SHOULD BE REMANDED TO
 9           STATE COURT
10           As demonstrated above, due to the urgency occasioned by the impending ballot printing deadlines,
11   this Court should issue a TRO and set an expedited hearing on the Order to Show Cause Re: Preliminary
12   Injunction. In the alternative, if the Court were to find that it lacks subject matter jurisdiction to proceed
13   further because there is no merit to Defendants’ FVRA defense, this action should promptly be remanded
14   to the state court.
15           Courts “strictly construe” removal statutes against removal jurisdiction. Gaus v. Miles, Inc., 980
16   F.2d 564, 566 (9th Cir. 1992). Federal removal must be rejected if there is any doubt as to the right of
17   removal in the first instance. Id.; see also Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09
18   (1941). This “strong presumption” against removal jurisdiction means that the “defendant always has the
19   burden of establishing that removal is proper.” Gaus, 980 F.2d at 566.
20           Defendants removed this action under 28 U.S.C. § 1443, which was enacted to protect state
21   officers from being penalized for failing to enforce discriminatory state laws or policies by providing a
22   federal forum in which to litigate those issues. City and County of San Francisco v. Civil Service
23   Commission of the City and County of San Francisco, No. 02-03462, 2002 WL 1677711, at *4
24   (N.D. Cal. July 24, 2002) (quoting Detroit Police Lieutenants and Sergeants Ass’n v. City of Detroit,
25   597 F.2d 566 (6th Cir. 1979)). This rarely used provision permits removal where a state official is sued
26   in state court for “refusing to do any act on the ground that it would be inconsistent with” a law providing
27   for equal rights. 28 U.S.C. § 1443(2). Courts have further explained that for section 1443(2) to apply,
28   defendants must show a “colorable conflict” between state and federal law leading to their refusal to follow

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 1   plaintiffs’ interpretation of state law. City and County of San Francisco, 2002 WL 1677711, at *4; see
 2   also Alonzo v. City of Corpus Christi, 68 F3d 944, 946 (5th Cir. 1995) (same). If no colorable conflict
 3   exists, removal is improper. City and County of San Francisco, 2002 WL 1677711, at *4.
 4           If, after issuing the requested TRO and providing Defendants with an opportunity to respond to the
 5   OSC Re: Preliminary Injunction, this Court concludes that no “colorable conflict” exists in this case, then
 6   it should immediately remand the case to the state courts, while maintaining the TRO during the interim.
 7   Were the Court merely to remand the case without granting or preserving the temporary restraining order,
 8   Defendants would have achieved their illegitimate objective of delaying these proceedings through an
 9   improper removal petition long enough to prevent Plaintiffs from obtaining the relief to which they are
10   entitled — the submission of the General Plan Amendment Initiative to the voters at the June 6, 2006,
11   primary election.
12
13   DATE: March 14, 2006                         Respectfully Submitted,
14                                                STRUMWASSER & WOOCHER LLP
                                                  Fredric D. Woocher
15                                                Michael J. Strumwasser
16
                                                  LAW OFFICE OF J. WILLIAM YEATES
17                                                J. William Yeates
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18                                                Jason R. Flanders
19
                                                  By                    /s/
20                                                                Fredric D. Woocher
21
22                                                Attorneys for Petitioners and Plaintiffs
                                                  William Melendez, Ken Gray, Jyl Lutes,
23                                                Carolyn Anderson, and Landwatch Monterey

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